           Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18            EOD 11/01/18 22:20:24       Pg 1 of 16




 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)         18-07762
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule       D
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 1, 2018                        X /s/ Samantha Bell-Jent
                                                                       Signature of individual signing on behalf of debtor

                                                                       Samantha Bell-Jent
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                Case 18-07762-JJG-11                            Doc 68       Filed 11/01/18              EOD 11/01/18 22:20:24                           Pg 2 of 16


 Fill in this information to identify the case:
 Debtor name Fayette Memorial Hospital Association, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA                                                                                 Check if this is an

 Case number (if known):                18-07762                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bank of New York                                                Hospital Campus                               $14,381,000.00             $10,501,300.00              $3,879,700.00
 Mellon Trust                                                    1941 Virginia Ave,
 Company NA                                                      Connersville, IN
 300 N. Meridian                                                 47331
 Street, Ste 910                                                 Parcel No.
 Indianapolis, IN                                                21-05-24-529-501.0
 46204                                                           00-003
 Terrex Construction,                                            Construction                                                                                         $1,254,237.05
 LLC                                                             Services - new
 3200 Madison Rd.                                                detox facility.
 Suite 2B
 Cincinnati, OH
 45209
 SIHO Insurance                                                  Employee Health                                                                                        $774,798.01
 Services                                                        Insurance
 417 Washington                                                  (Self-Insured
 Street                                                          Claims
 Columbus, IN 47201                                              Obligations)
 Family & Social                                                 FSSA Claim                                                                                             $713,366.81
 Services                                                        Repayment
 Administration
 PO Box 621007
 Indianapolis, IN
 46262
 Resource                                                        Services Provided                                                                                      $439,953.00
 Anesthesiology
 Associates of IN
 450 Mamaroneck
 Ave
 Suite 201
 Harrison, NY 10528
 Cardinal Health -                                               Medical Supplies -                                                                                     $285,597.32
 340B                                                            340B
 PO Box 70539
 Chicago, IL 60673




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                Case 18-07762-JJG-11                            Doc 68        Filed 11/01/18             EOD 11/01/18 22:20:24                           Pg 3 of 16


 Debtor    Fayette Memorial Hospital Association, Inc.                                                        Case number (if known)         18-07762
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Varian Medical                                                  Subscription                                                                                           $283,600.00
 Systems, Inc.
 3100 Hansen Way
 Palo Alto, CA 94304
 Weatherby Locums,                                               Third Party                                                                                            $283,467.27
 Inc.                                                            Staffing Services
 15300 Weston Pkwy,
 Ste 105
 Cary, NC 27513
 Osman Clinic &                                                  Third Party                                                                                            $232,798.63
 Assoc.                                                          Staffing Services
 3307 W. 96th Street
 Indianapolis, IN
 46268
 Trifecta Networks                                               Medical Supplies                                                                                       $211,222.44
 4027 Tampa Rd.,
 #3900                           866-771-9785
 Oldsmar, FL 34677
 CPSI                                                            IT Support                                                                                             $204,298.50
 6600 Wall Street
 Mobile, AL 36695                251-639-8100
 ORS, Inc.                                                       Services Provided Unliquidated                                                                         $198,322.48
 13578 E. 131st                                                                    Disputed
 Street, Ste 220                 317-770-0055
 Fishers, IN 46037
 American Health                 Linda Sundin                    Third Party                                                                                            $168,000.00
 Network                                                         Staffing Services
 Attn Linda Sundin
 10689 N.
 Pennsylvania St. Ste
 200
 Indianapolis, IN
 46280
 Medline Industries,             Shane Reed                      Medical Supplies                                                                                       $154,078.43
 Inc.
 Dept Ch. 14400                  sreed@medline.co
 Palatine, IL 60055              m
 Nextgen Healthcare                                              IT Support                                                                                             $153,742.98
 Quality Systems,
 Inc.
 PO Box 809390
 Chicago, IL 60680
 Nevro Corporation                                               Medical Supplies                                                                                       $138,354.00
 4040 Campbell Ave
 #210
 Menlo Park, CA
 94025
 Horizon Health                                                  Third Party                                                                                            $125,667.61
 1965 Lakepointe Dr.,                                            Staffing Services
 Ste 100                         800-727-2407
 Lewisville, TX 75057



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                Case 18-07762-JJG-11                            Doc 68       Filed 11/01/18              EOD 11/01/18 22:20:24                           Pg 4 of 16


 Debtor    Fayette Memorial Hospital Association, Inc.                                                        Case number (if known)         18-07762
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 US Foods                                                        Food Service                                                                                           $122,336.37
 9399 West Higgins                                               Supplies
 Rd.
 Rosemont, IL 60018
 Cynet Healthstaff,                                              Third Party                                                                                            $118,642.60
 Inc.                                                            Staffing Services
 43480 Yukon Drive
 Suite 202
 Ashburn, VA 20147
 Manta Resources,                                                Recruitment                                                                                            $117,250.00
 Inc.                                                            services.
 15229 Herriman
 Blvd.
 Noblesville, IN
 46060




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
           Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                   Pg 5 of 16
 Fill in this information to identify the case:

 Debtor name         Fayette Memorial Hospital Association, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF INDIANA

 Case number (if known)             18-07762
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Amerisourcebergen Drug
 2.1                                                                                                                           Unknown                 $14,834.29
       Corp.                                          Describe debtor's property that is subject to a lien
       Creditor's Name                                Pharmaceutical and medical supplies sold to
                                                      the Debtor by Amerisource Bergen prior to
       1300 Morris Drive                              the Petition Date.
       Chesterbrook, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2014                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Associated Bank, N.A.                          Describe debtor's property that is subject to a lien               $1,073,188.18                  Unknown
       Creditor's Name                                UCC-1 - 201700003079948
                                                      Originally with Leasing Assoc of Barrington
       525 W. Monrow Street, Ste.                     VitalBeam Package described in Lease No.
       2400                                           12679000 dated 4/6/17
       Chicago, IL 60661
       Creditor's mailing address                     Describe the lien
                                                      Lease
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2017                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9000


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
           Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24              Pg 6 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)   18-07762
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Bank of New York Mellon
 2.3                                                                                                                             $0.00      $8,243,140.40
       Trust Company                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Total Accounts Receivable - $18,734,410
       300 N. Meridian Street, Ste.                   Portion that is 90 Days or Less - $12,116,155
       910                                            Estimated 44% recovery on Face Amount
       Indianapolis, IN 46204
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2013                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Bank of New York Mellon
 2.4                                                                                                                             $0.00               $0.00
       Trust Company                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Pharmacy, medical, office, food service, and
       300 N. Meridian Street, Ste.                   other inventory used in hospital operations.
       910
       Indianapolis, IN 46204
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2016                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Bank of New York Mellon
 2.5                                                                                                                     $14,381,000.00    $10,501,300.00
       Trust Company NA                               Describe debtor's property that is subject to a lien
       Creditor's Name                                Hospital Campus
       300 N. Meridian Street, Ste                    1941 Virginia Ave, Connersville, IN 47331
       910                                            Parcel No. 21-05-24-529-501.000-003
       Indianapolis, IN 46204

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
           Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24               Pg 7 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

       Creditor's mailing address                     Describe the lien
                                                      First Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2013                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Canon Financial Services,
 2.6                                                                                                                           Unknown          Unknown
       Inc.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                UCC-1 - 201800001668931
                                                      All of debtor's right, title and interest in the
                                                      ssigned leases and equipment purchaed by
                                                      creditor from time to time pursuant to a
       158 Gaither Drive                              master agreement.
       Mount Laurel, NJ 08054
       Creditor's mailing address                     Describe the lien
                                                      Lease (Protective Filing)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   CIT Finance LLC                                Describe debtor's property that is subject to a lien                        $0.00         Unknown
       Creditor's Name                                UCC-1 - 201100002601891
                                                      Assigned from First Financial Corp Leasing -
                                                      60mo lease, with 2 yr financing extn.
                                                      All Baxter IV Pump System equipment
                                                      referenced in equpiment Schedule No. 02 to
                                                      Master Lease Agreement No. 031711-GN
       1 CIT Drive                                    dated 3/17/11
       Livingston, NJ 07039
       Creditor's mailing address                     Describe the lien
                                                      Lease/PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/7/11                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                Pg 8 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)     18-07762
              Name

       5858
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Comerica Bank                                  Describe debtor's property that is subject to a lien                     Unknown         $198,000.00
       Creditor's Name                                Comerica Custodial Securities Account -
       Attn. Sarah R. Miller                          Custodial Securities Account - Acct# 0696
       411 W. Lafayette Street, MC
       3205
       Detroit, MI 48226
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2013                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Conestoga Equipment
 2.9                                                  Describe debtor's property that is subject to a lien                     $48,598.73       $51,867.60
       Finance Corp.
       Creditor's Name                                UCC-1 - 201600004761239
                                                      Pentax EPK-i HD Video Processor; Pentax
                                                      EG-2990i HD Video Gastroscope; Pentax
                                                      EC-3890Li HD Video Colonoscope; Pentax
                                                      EC-3490Li HD Video Colonoscope; Sony
                                                      UP-51MD Color Video Printer; Olympus
       1033 S. Hanover St.                            OEV-261H 26" Monitor
       Pottstown, PA 19465
       Creditor's mailing address                     Describe the lien
                                                      PMSI (orig with Beneficial Equip Fin)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2016                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8847
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
           Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24               Pg 9 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

 2.1   Dell Financial Services
 0     L.L.C.                                         Describe debtor's property that is subject to a lien                     Unknown          Unknown
       Creditor's Name                                UCC-1 - 201400005417650
                                                      Computer equipment peripherals, and other
                                                      equipment described in Master Lease
       Mail Stop-PS2DF-23                             Agreement (Designated as Lessor/Lessee
       One Dell Way                                   filing)
       Round Rock, TX 78682
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2014                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   First Financial Eqiupment
 1     Finance LLC                                    Describe debtor's property that is subject to a lien                     Unknown          Unknown
       Creditor's Name                                UCC-1 - 201300006104835
                                                      All equipment, goods, software and other
                                                      intangibles leased pursuant to Equip
                                                      Schedule 001 to Master Lease Agreement No.
       255 E. 5th Street                              0000206 dated 6/1/2013
       Cincinnati, OH 45202
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/1/2013                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 2     First Midwest Bank                             Describe debtor's property that is subject to a lien                     Unknown          Unknown
       Creditor's Name                                UCC-1 - 201700002655513
                                                      UCC-3 (Amendment) 201700007122355
                                                      Assigned from Leasing Assoc of Barrington
                                                      Mammography and radiology equipment
                                                      described in Lease No. 12669000 dated
       One Pierce Place, Suite                        3/24/17 and Addendum effective 9/17/17
       1500                                           (Konica eq)
       Itasca, IL 60143


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                Pg 10 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

       Creditor's mailing address                     Describe the lien
                                                      Lease (Protective Filing)
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2017                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Philips Medical Capital                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 200900003730337
                                                      Eqiupment leased or financed under Contract
       1111 Old Eagle School Rd.                      PH010694
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2009                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0694
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 4     Philips Medical Capital                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 200900003735665
                                                      All eqiupment leased or financed under
       1111 Old Eagle School Rd.                      Contract PH011005
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2009                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1005
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                Pg 11 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 5     Philips Medical Capital                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 201100000385878
                                                      One (1) Philips Diamond Select Brilliance 16
       1111 Old Eagle School Rd.                      Ct System, per Quote No. 1-RCFH58
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2011                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7009
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 6     Philips Medical Capital                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 201200006472246
                                                      One (1) Philips IU22 XMatrix Ultrasound, and
       1111 Old Eagle School Rd.                      One (1) Philips IE33 Vision 2012 Ultrasound
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2012                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 7     Philips Medical Capital                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 201200006472357
                                                      UCC-3 (Amendmenrt) 201200006586030
                                                      UCC-3 (Amendment) 201200010111716
                                                      One (1) Philips Ingenia 1.35T Omega MRI
       1111 Old Eagle School Rd.                      System and patient monitoring equipment
       Wayne, PA 19087

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 7 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                Pg 12 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2012                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 8     Philips Medical Capital                        Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 201300010680344
                                                      One (1) used Philps Brilliance 64 Channel CT
       1111 Old Eagle School Rd.                      System
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2013                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Susquehanna Commercial
 9     Finance, Inc.                                  Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 201200002355111
                                                      Equipment described in Master Equipment
       2 Country View Road                            Lease Agreement No. 20070870, Schedule No.
       Suite 300                                      2 (Vendor NEC Corporation of America)
       Malvern, PA 19355
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2012                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8898
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 8 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                Pg 13 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   TCF Equipment Finance,
 0     Inc.                                           Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 00009387021
                                                      Equipment described in Master Equipment
                                                      Lease Agreement No. 20070870, Schedule No.
       11100 Wayzata Blvd., Suite                     1 (Vendor Siemens Medical Solutions USA,
       801                                            Inc.)
       Hopkins, MN 55305
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2011                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7882
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   TCF Equipment Finance,
 1     Inc.                                           Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 201600008873570
                                                      Equipment described in Master Equipment
                                                      Lease Agreement No. 20070870 Schedule No
       11100 Wayzata Blvd., Suite                     1 (Vendor Siemens Medical Solutions USA,
       801                                            Inc.)
       Hopkins, MN 55305
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2016                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4840
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 2     TFG-Indiana, L.P.                              Describe debtor's property that is subject to a lien                     Unknown           Unknown



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 9 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
          Case 18-07762-JJG-11                            Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                Pg 14 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)    18-07762
              Name

       Creditor's Name                                UCC-1 - 201700007680596
                                                      Equipment, machinery, goods, and other
       6995 Union Park Center,                        property leased pursuant to Lease Schedule
       Ste. 400                                       FMHA-001 to Master Lease Agreement No.
       Cottonwood Heights, UT                         2049982 (filed as Lessor)
       84047
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2017                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   U.S. Bancorp Equipment
 3     Finance, Inc.                                  Describe debtor's property that is subject to a lien                     Unknown           Unknown
       Creditor's Name                                UCC-1 - 200800009375993
                                                      One (1) XSO Laser System with Navigation &
       PO Box 230789                                  proceeds of same.
       Portland, OR 97201
       Creditor's mailing address                     Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2008                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0003
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 4     US Foods, Inc.                                 Describe debtor's property that is subject to a lien                     Unknown           $6,420.00
       Creditor's Name                                Food service inventory and supplies sold by
                                                      U.S. Food Service to the Debtor
                                                      estimated at $6,240 on hand as of the Petition
       9399 West Higgins Rd.                          Date
       Rosemont, IL 60018
       Creditor's mailing address                     Describe the lien
                                                      PMSI
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 10 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 68           Filed 11/01/18             EOD 11/01/18 22:20:24                   Pg 15 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                              Case number (if know)       18-07762
              Name

        2013                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        9481
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.2
 5      Van Ausdall & Farrar, Inc.                    Describe debtor's property that is subject to a lien                       Unknown            Unknown
        Creditor's Name                               UCC-1 - 201400000593397
                                                      Equipment leased or financed under Contract
        1111 Old Eagle School                         No. 25268163
        Wayne, PA 19087
        Creditor's mailing address                    Describe the lien
                                                      Lease or PMSI
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        2014                                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        8163
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.2
 6      Wells Fargo Wholesale                         Describe debtor's property that is subject to a lien                     $327,510.04          Unknown
        Creditor's Name                               Swap Agreement Obligations
        301 S. College Street                         Lien rights through BNY as Bond Trustee
        MAC-D1053-070
        Charlotte, NC 28202
        Creditor's mailing address                    Describe the lien
                                                      Indirect through Bank of New York as Trustee
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        12/1/17                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        6813
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                               $15,830,296.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       95


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 11 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
           Case 18-07762-JJG-11                           Doc 68     Filed 11/01/18             EOD 11/01/18 22:20:24                      Pg 16 of 16
 Debtor       Fayette Memorial Hospital Association, Inc.                                        Case number (if know)         18-07762
              Name

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Bank of New York Mellon Trust Company
        300 N. Meridian Street                                                                            Line   2.5
        Suite 910
        Indianapolis, IN 46204




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 12 of 12
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
